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EXHIBIT 1
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California
Prison Health Care
Receivership Corporation

Patient Identification Assessment

February 6, 2008

~ Beth Just
Linda Bock
Jim Turnbull
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I. Introduction

In today’s environment, proper identification of patients receiving care within a
healthcare organization is a critical and often difficult task. Providing correctional
system healthcare to inmates is a complex and frequently fragmented endeavor.
Within the California Department of Corrections and Rehabilitation (CDCR) this
task is made more difficult by reliance on antiquated technology, labor intensive
manual processes and staff members, who while dedicated, are hampered by the
tools with which they work. The ability to identify and link patient information
regardless of treatment location contributes to high quality, efficient patient care.
Without the ability to adequately identify the inmates receiving care within the
prison system, the organization faces risk of increased adverse outcomes during
patient treatment, increased cost of tests when duplicate tests are ordered and
risk of non-compliance with regulatory or judicial requirements in addition to
increased operational costs.

Just Associates (JA) was contracted by the California Prison Healthcare
Receivership (CPR) to conduct a high level assessment of the current state of
patient identification by examining the processes and systems used to manage
inmate healthcare information and identification. The objectives of the
engagement include documentation of the current systems and processes,
identification of the issues within the identity management system and
recommendations regarding technology and process improvements required prior
to supporting the planned rollout of the clinical information system.

The onsite visits included the ID Control Unit in Sacramento, California Medical
Facility in Vacaville, Deuel Vocational Institution in Tracy, CSP-Sacramento and
Folsom Prison, Wasco Reception Center in Wasco, the Army Depot Center in
Sacramento, the EIS Department in Rancho Cordova and the Valley State Prison
for Women in Chowchilla. The onsite portion of the engagement began
November 5" and concluded November 28".

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ll. Executive Summary

When viewed from 30,000 feet, the information technology environment within the
medical care side of the CDCR is not a ‘system’...it is an act of desperation. The
healthcare system in the CDCR is held together by the heroic efforts of the
healthcare staff. A major observation at each facility was the crippling inefficiency
of the systems and processes. The most common solution to inefficiencies
appears to be adding more staff to complete mundane tasks. Inconsistent
information technology and health record management practices are pervasive.
The efficient provision of health care services is put at risk every day due to the
technological environment and the absence of sound information technology and
health record management practices.

The CDCR has over 175,000 inmates for which it must provide health
assessments, treatment of chronic and acute diseases and conditions and also
facilitate timely and accurate transmission of healthcare information across its 33
facilities. In any multi-site healthcare provider organization (which the CDCR is),
the ability to identify and link patient information regardless of treatment location
contributes to.high quality, efficient patient care. When multiple patient identifiers
reside within multiple databases, or the organization cannot link previous
diagnostic and treatment information across these sites, the organization faces
risk including: .

1. the possibility of significant errors during patient treatment,

2. increased cost of tests when duplicate tests are ordered (average cost of
one such repeat test is over $1,100— cost study performed by Children’s
Medical Center Dallas),

3. risk of non-compliance with regulatory requirements

4. inability to identify individuals with chronic and/or communicable conditions
upon re-incarceration and

5. increased operational costs inherent in multiple patient identifiers.

In.the CDCR, these issues become magnified due to the:
® overcrowding in the prisons (increasing the risk of communicable disease
transmission),

e high recidivism rate (creating the need to constantly transfer previous
health care records to the new prison location),

e high inmate movement rate (OBIS statistics indicate over 14,000
movements per week),

e dependence upon correctional systems (such as OBIS and DDPS), over
which the healthcare providers have little or no control,

e high mental health population (>50% of inmates are projected to have a
mental health condition) and

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e frequent reported use of alias names (and incorrect dates of birth) by
inmates.

Due to debititating technology and record management practices, pulling together
a cohesive picture of the inmate’s health status is a significant challenge, and
currently is near impossible. This puts continuity of care at risk. Yet, in the prison
system, there are several characteristics that lend themselves to an optimal
environment for providing continuity of care. These include a small captive
population with limited rights, “patients” who document their requests for health
services, a limited number of external contracted providers, all potential patients
are stored in a centralized, common database (OBIS) and services are rationed
by limited availability. These and other characteristic are enabling features that
can be leveraged in an automated record keeping system.

_ Almost all healthcare (and correctional) processes are completely dependent
upon the Distributed Data Processing System (DDPS) system, a 20+ year old
system being run on a proprietary database and hardware that is no longer
manufactured or supported. DDPS is utilized to track the location (within and
outside the prison) of all CDCR inmates. There is a wide-spread and seemingly
mythical belief that this system (as well as OBIS, whose data is maintained by
CDCR’s ID Control Unit) will continue to function into perpetuity despite the
obvious shortcomings. This is a significant risk issue for the entire CDCR and
impacts the ability to track the location of inmates therefore precludes CDCR’s
ability to provide quality, longitudinal based healthcare.

In order to address the current shortcomings of OBIS and DDPS, an initiative is
underway to develop a replacement system known as SOMS (Strategic Offender .
Management System). The current timeframe calls for the system to be
implemented in early 2013. This schedule needs to be much more aggressive in
order to reduce the obvious risk to all CDCR processes, including the delivery of
health care services.

There must be the commitment and wherewithal to immediately fund and initiate
the acquisition and/or development of SOMS. If this is not possible, itis
strongly recommended that the healthcare delivery side of the CDCR begin
independent development of an electronic Master Patient Index (MPI).

Regardless of which direction is pursued, it is recommended that the healthcare
services sector of the CDCR immediately begin the process to acquire an
independent inmate/patient tracking system. A robust, commercially developed
and supported ADT (admission, discharge, transfer), MPI and scheduling
system(s) may well meet the needs of the institutions. The volume of “new”
patients (inmate persons), the number of new cases and the volume of prisoner
transfers is not overly high from a healthcare MPI/ADT standpoint. Off-the-shelf
MPI, ADT and Scheduling systems - if flexible enough to customize — will address
the most critical information sharing needs for CDCR’s healthcare system.

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Please see Appendix 8 for OBIS record growth, which is indicative of “admission,
discharge and transfer’ volumes.

It is encouraging to note that a major initiative is underway to centralize the
records of paroled inmates from all facilities at the former Army Depot near
Sacramento. While an aggressive time frame is strongly recommended for
information technology solutions, an equally aggressive commitment must be
made to develop this center into a best-of-class records management program.

Within the scope of the consulting engagement, Just Associates was asked to
address issues related to inmate identification, tracking and continuity of care.
However, during the engagement it became apparent that both the custody and
medical care processes of the CDCR have a high risk exposure due to the OBIS
and DDPS applications. Regardless of the option selected to address the-
identification, tracking and continuity of care issues, Just Associates strongly
recommends that a formal security assessment be immediately conducted of the
OBIS/DDPS environment. At a minimum, the framework for the study should
comply with the recently published ISO 27002 standard:

The ISO 27002 standard "established guidelines and general principles for
initiating, implementing, maintaining, and improving information security
management within an organization". The actual controls listed in the
standard are intended to address the specific requirements identified via a
formal risk assessment. The standard is also intended to provide a guide
Sor the development of "organizational security standards and effective
security management practices and to help build confidence in inter-
organizational activities”.

- The ISO 27000 Directory

A bulleted list of the base standards that should be assessed during an ISO
27002 review is attached as Appendix 7.

CPR Options
Long term, JA views several options for the CPR to consider:

Option 1

e Wait for funding and development of SOMS (Strategic Offender
Management System) by the custody division of the CDCR per the current
schedule (implementation in 2013). Utilize SOMS long term as the MPI
and “bed management” function for the healthcare system.

e Under the direction of the Receiver's office, continue to invest in
standardized applications (similar to Guardian for pharmacy) in other

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- patient care ancillary areas, as well as scheduling and the clinical data
repository.

PROS: This option provides for standardization of a suite of applications that will
fit with the future SOMS solution, which should make them easier to support.

itis better than doing nothing.
CONS: This option assumes that SOMS will be funded, which is not a sure thing.

Whether or not it gets funded, risk will not be mitigated at all...in fact, it will
continue to increase.

Option 2

e Provide funding and staffing support from the Receiver’s office to promote
approval and funding of SOMS, and to assist in the design and
development of the SOMS suite of applications which would include MPI ,
scheduling, ADT and “bed management’ function for the healthcare
system.

* Continue investment in standardized applications (similar to Guardian for
pharmacy) in other patient care ancillary areas and the clinical data
repository.

PROS: There may be more to be gained on behalf of the inmates by combining
the resources of EIS with those of the Receiver’s office. The initial difficulty of
coordinating such an effort may be more than made up for by the long run
benefits

CONS: This approach would hamper the short terms efforts and projects of the
receiver's office.

There is an opportunity cost that would be at risk should the SOMS project not
receive approval, even with the Receiver’s support.

Option 3

e With the resources of the Receiver’s office, move forward aggressively with
the acquisition and implementation of an ADT/MPI, bed management and
scheduling suite of applications. Acquisition of an off-the-shelf system that
can be easily customizabie would be the most expeditious way of
addressing this critical need. Complete a data requirements project to
ensure customization requirements are identified up front.

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e Conduct an immediate security assessment of the OBIS/DDPS
environments. In response to the study, take whatever steps are
necessary to minimize operational risk to both the custody and medical
services of CDCR.

e Continue to deploy standardized ancillary applications per current plans.

PROS: Can be undertaken without regard to the status of SOMS. This option
provides a second system tracking inmate location in the event DDPS and/or
OBIS fail. Applications could be customized to provide required information
without the redundant data entry that currently exists. This option also allows
CPR to move more quickly to resolve core foundational problems impeding
efficient and quality patient care.

CONS: This type of application would house some of the identical data to that
residing in OBIS and DDPS. This creates a need to compare data to ensure the
same information is present in both systems and will require follow-up processes
to be instituted to reconcile discrepancies.

Just Associates recommends that CPR move forward with Option 3. It is not ideal
to create redundant systems; however inmate tracking is so critical to improving
patient care in CDCR, that this must be addressed early in CPR'’s efforts to
improving the healthcare capabilities.

Discussion:

Healthcare services can not be provided to inmates without knowing the exact
location of the inmate. While this seems a simplistic statement, the current state
of health service delivery demonstrates the complexity inherent in properly
locating an inmate at a given moment in fime. Medication delivery depends on
knowing the unit, the cell and the bed in which an inmate resides. Even
temporary re-location for administrative and/or disciplinary reasons can disrupt
appropriate dispensing of a medication to an individual. The ability to effectively
schedule appointments for either internal clinics or with an external provider
requires the exact location of the inmate in order to create the ducat that allows
the inmate to move internally within the facility. External appointments require
complex coordination to ensure appropriate transportation and security is
provided.

While understanding where the inmate resides within a facility is important,
another challenge faced by the healthcare delivery system is to identify the facility
in which the inmate is located and to also provide for those inmates who are
temporarily not within a particular facility’s walls, but either enroute to a newly
assigned facility or receiving healthcare services with a community provider. With
a single source of the inmate’s location, as would be available with a properly
configured ADT system would be of great value.

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implementation of a separate Admission-Discharge-Transfer system requires

- careful planning of database requirements as weil as well thought out processes
that account for exceptions as well the norm. Healthcare workers would need to
provide registration services in all the R&R units at all facilities. Responsibilities
include initiating the record for a new inmate, properly identifying a previous
inmate whose record already exists within the ADT, discharging inmates who
have been transferred to a new facility, temporary discharges for inmates
receiving care in community based hospitals and/or clinics and identifying inmates
with chronic diseases. In addition to the initial registration process, the system
must also capture inhouse transfers whenever the inmate changes the unit, cell
and/or bed he is assigned. How this process would be most efficiently performed
requires additional study.

Option 3 includes deployment of an ADT system including inmate location
tracking. Most ADT systems have an incorporated bed management system that
facilitates up to the minute location tracking. Developing system requirements to
meet the California Department of Corrections and Rehabilitation’s unique needs
is the first step in identification of the appropriate software to facilitate this critical
process.

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ltl. Major Findings and Recommendations

A. Major Process Related Findings

1.

Volume: figures for health care visits, requests for care, pending
appointments and many other core healthcare statistics were not available.
It will be nearly impossible to plan for new systems or processes until
adequate workload volumes are obtained.

Healthcare forms (and other CDCR forms that influence scheduling of
medical care for inmates) abound. The same data is collected over and
over again. Many forms were created to address specific information
tracking needs resulting from the various healthcare lawsuits.

The issuance of the CDC# is manual, fraught with many opportunities for
error and is at high risk of being comprised due to the lack of back up (it is
a totally manual system). The dispersing of blocks of numbers to the
prisons is varied and how the CDC# is actually assigned to an inmate also
varies from prison to prison. This is discussed in detail in Appendix 2.A —
Support Services Site Visits, ID Control Unit.

The ability to correctly identify an inmate does not seem to be an issue.
However, the number of times the CDC# is manually recorded and entered
into different systems has likely caused substantial errors in the various
computer systems in use in the prisons. Please see Appendix 4 —
Reception Center Flow Charts. Yellow shaded boxes indicate steps where
CDC # is manually recorded.

Failure to have an up-to-date location for each inmate impedes timely
delivery of medications, adds to the resources required for pharmacy
services and may result in inmates missing needed medications and
contribute to continued ill health.

Prison transfers (especially from reception centers) impede the CDCR’s
ability to follow through on timely healthcare visits as the prison census
system (DDPS) must be manually checked to determine if the inmate is
currently still incarcerated at that facility. Refer to Appendix 3.B.2

There was little to no evidence of health care service processes being.
audited for completeness and accuracy. There is a reliance on the staff to
never make a mistake.

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8. Lack of HIM best practices including onsite record retention practices put

significant demand upon already overcrowded office space and inefficient
workflow. This contributes to jess than optimal working conditions and
likely increases errors. HIM is discussed in Appendices 2.B and 3.C.

B. Major Technology Related Findings

1.

There are concerns regarding the adequacy of CDCR’s business recovery
plan for OBIS and DDPS. It must be determined whether data recovery is
truly possible in the event of a disaster causing total system failure.
Appendix 2.C has additional information on this topic.

Untold number of independent Microsoft Access databases to track
appointment scheduling, admittance to inpatient/observation beds, chronic
diseases, mental health issues, special needs (chronos) such as canes,
lower bunks, medications, allergies, etc. These databases sit on local PC
machines, must be manually synchronized in the correct order or data is
lost. The different types of MS Access databases do not communicate with
one another thereby leading to Jarge amounts of redundancy (and therefore
likely significant errors) in data collection. Please see Appendices 3 and 5.

Each facility has different core ancillary systems such as systems
supporting laboratory and radiology. Ancillary department technology
investments appear to have an inconsistent strategy. Aithough the current
investment in ancillary systems technology will lead to improvements
across the system, a “best of breed” approach may lead to integration
challenges down the road. See Appendix 3 for more detail.

C. Major Recommendations

Section VI of this report contains a detailed listing of Findings and Recommendations
for this project. A-high level perspective of the Recommendations includes:

1.

Development of data and functional requirements for an MPI, scheduling, ©
inmate location “bed” management and abstracting system to determine
the best “off-the-shelf” system that can be quickly obtained. The systems
need to be flexible enough to add customized data tracking required in

. correctional facilities and to enable CDC# cross-referencing/ record linking.

(See Appendix 6 for a sample of off-the-shelf vs. custom data collection
requirements for a scheduling system.) Biometric capability/support needs
to be a prime requirement.

Complete a security penetration assessment of OBIS and DDPS. Develop
a disaster recovery plan for both of these systems. Provide a daily backup
of OBIS and DDPS into a backup database stored on a contemporary
platform.

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3. Complete an external data analysis of OBIS and DDPS to assess data
integrity of key identifiers and key person level demographic identifying
fields.

4. Stop the proliferation of different chart tracking systems within each prison
and standardized on one system. A chart tracking system will be required
for a minimum of 5-7 years until the medical record is fully automated and
the need to pull old paper charts is eliminated.

5. Ensure all healthcare technology systems that are being acquired have the
capability to store a single “enterprise” healthcare identifier for each patient
record (and all electronic transactions) into and out of that system.

6, Develop methodologies to track and/or report workload volumes for clinics,
ancillary departments and HIM. .

7. Provide workflow and process best practices guidance and training for HIM
departments.

8. Begin process redesign efforts in the appointment scheduling, laboratory,
radiology, clinic/TTA and HIM as technology is rolled out in these areas.
Some process redesign of existing manual processes should also be
undertaken until new enterprise wide technology can be implemented.

9. Change management and computer skill training of healthcare staff must
be carefully planned to migrate the existing staff members to enthusiastic
use of more sophisticated technology.

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lV. Patient/Inmate Identification

One of the major objectives of this consulting engagement is to provide an
assessment of patient identification practices within the California Department of
Corrections and Rehabilitation. The ability to identify a specific individual and
thereby the medical care required at any point in time is hampered by fragmented
systems, incomplete data, and lack of a consistent, trusted identifier. Clearly
there is a need for a system that provides unique lifetime identification of each
individual inmate and one that has the ability to track the location of each
individual. Biometric options to enhance patient/inmate identification should be
seriously considered as part of this initiative. The identification tool chosen must
serve as the cornerstone for linking health information across the various
locations within CDCR and a building block of the planned Clinical Data
Repository while accurately identifying a given inmate.

The deficiencies of current systems and processes used for inmate identification
and tracking are fundamental and are briefly enumerated below:

1. There is no current way to track an individual via a single identifier
throughout their lifetine. With the rate of recidivism as high as it is within
the male prison population, the majority of inmates have multiple identifiers
within the OBIS database. While there is an effort to manually link the
various CDC#s assigned to an individual, there is no truly fool proof
methodology or technology in place to ensure appropriate linking takes
place, It does not appear that any analysis of the data contained in OBIS
has been completed that would identify inmates who potentially have
CDC#s that have not been appropriately linked. JA was informed that the
unique Cll# was used to identify improper linkages, but have not been able
to confirm the details of the report production and follow-up process. The
Cll# is stored in a text field in OBIS and there are no edits or validation
applied to it, including identification of a duplicate Cll# edit at the time of
entry.

2. The lack of a unique identifier creates barriers to the ability to access
previous healthcare information when an inmate returns to the CDCR and
is assigned a new CDC#. This creates issues and delays in treating
individuals with chronic diagnosis where treatment delays significantly

-impact the cost of overall healthcare delivery.

3. In order to deliver health care, whether it is a medication or an appointment
with a community provider, the first requirement is to accurately locate an
inmate at any given time. The current processes employ many
workarounds to locate inmates that are inefficient and, unfortunately,
inaccurate for a portion of inmates. The inability to locate an inmate at any
point in time impedes the delivery of healthcare services.

4. Inability to electronically link data systems and provide real-time updates
cripples the institutions’ ability to provide timely healthcare in an efficient
manner. The manual synchronization of computers throughout the prisons

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that takes place daily uses many productive hours and this waste is
dwarfed in comparison to the inefficiencies caused by the inability to have
pertinent information routinely available.

5. Access to OBIS and DDPS is restricted by too few workstations in the
locations where employees need them to perform assigned tasks.
Additionally, the inability to get timely security |Ds and passwords so that
existing workstations can be used creates additional inefficiencies.

6, An average of 2,000 new case files are added each week to OBIS and over
28,000 “movements” are recorded each week (statistics taken from OBIS

- summary reports from November 14 — December 21, 2007.) The data in
OBIS regarding inmate locations are frequently out-of-date due to the need
to limit the DRAD processing (“synching” with DDPS) to twice weekly.
Without accurate OBIS information, the HIM department cannot ensure the
UHR is at the same location as the inmate.

The use of facility specific Access databases proliferates across the organization.
While employees have developed these to fill a specific need (and deserve
commendation for doing so), the result is information stored in database silos that
is inaccessible, can’t be aggregated and serves a single purpose instead of
facilitating improved processes via the synergy that can be realized from
information exchange.

Because the delivery of healthcare services relies heavily on the data and
systems maintained by the custody side of the system, it is necessary to take
these systems into consideration in this discussion. Ongoing strategies should be
planned with consideration for how the healthcare systems will be integrated with
the systems used by the corrections staff.

Patient Identity (MPI) functionality that can enhance the CDR rollout includes:

e Generation and communication to all designated departments and
downstream systems of a single unique healthcare identifier.

¢ Ability to store and utilize in electronic communications all identifiers and
multiple Key demographic data fields, such as name, gender and date of

birth less than one unique record identifier.

e Capability to keep registration, scheduling and downstream system records
in sync.

* Standardized front end search for clinicians to locate their patients’ records
to include an error tolerant search capability.

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V. Information Technology Observations

The main applications, OBIS and, DDPS, are at significant risk due to:
e Technological obsolescence

Pending retirement of the entire support team

Inability to hire replacement programmers

Spare parts for systems no longer manufactured

Affordable maintenance may not be available

ees se

Consequently, to bridge the time until SOMS is developed and implemented, it is
essential that a business recovery plan be developed and tested. This plan
should consider the acquisition and warehousing of spare HP3000 gear. It is
strongly recommended that a data conversion effort be initiated as soon as
possible with SOMS in mind. Simply converting the data so it can be read by a
more contemporary |.T. architecture would be a sound risk mitigation step.

The CDCR would be well advised to roll out a common infrastructure to all
facilities upon which applications can reside. This can be implemented well in
advance of SOMS, and perhaps leveraged for other purposes before SOMS is
implemented. The current Cisco site survey process is a very positive first step in
this direction.

There appears to be little evidence that the issue of data security is receiving
adequate attention. A data security assessment is strongly recommended within -
the CDCR offices as well as at the prison facilities with a penetration study being
conducted as soon as possibile. A strategy around data security should be
developed hand in hand with SOMS, the CDR and the business recovery plan.

When observed from 30,000 feet, the information technology environment within
the medical care side of the CDCR is not a ‘system’...it is an ‘act of desperation’.
Multiple applications have been developed by CDCR staff, in order to deal with an
unmanageable environment. The lack of standardization across facilities is
successfully being addressed in the pharmacy area with the Maxor rollout of
Guardian. While the need for this initiative to implement a standard solution is
recognized, it sets the stage for the possibility of a ‘best of breed’ approach which
may be difficult to support.

There is evidence that there is a lack of understanding by healthcare workers in
the individual correctional facilities relative to the healthcare |.T. strategy. As part
of any go-forward initiative this must be addressed in order to gain support for the
various initiatives. The healthcare staff members interviewed during the
assessment were aware of the need for change, but there is some sense of
‘hopelessness’ that needs to be overcome.

in addition, at several facilities there is a great deal of personal investment in
many of the applications that are being used, primarily Access databases.
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Unfortunately, these stand-along home built applications are at risk as support
and development resources retire, lose interest, relocate, etc. Despite this,
vendor supported applications may meet with resistance based upon personal
agendas rather than rational arguments even if these applications could
potentially streamline processes.

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VI. Detailed Findings and Recommendations

A common observation throughout each of the sites visited was the crippling
inefficiency of systems and processes. The needs of the inmates are met through
heroic efforts of the staff, despite the obstacles. The most commen solution to
these inefficiencies is to add more staff to complete mundane tasks.

CPR’s plan to implement a comprehensive and efficient suite of applications to
address some of the healthcare delivery challenges will require a detailed and
thorough plan to train existing workers, preparing them to embrace this “new
world”. This plan must also address the need to re-educate displaced or
reallocated staff whose continued employment has been guaranteed by CPR’s
promise that existing staff will not lose their positions due to implementation of

technology.

1. The inmate is not assigned a
unique identifier that stays with
him/her throughout any
incarceration with CDCR.

| Implement an MPI to be used for

ie
ot

healthcare services that assigns a
single identifier and facilitates its use to
link data.

2. The Cll# is limited to Department of
Justice use.

already present identifier.

Research legal limitations of Cll# and
determine if changes could be
implemented to allow use of this

3. OBIS is not architected to store
and/or use a unique identifier.

Likely not an issue that can be resolved
prior to SOMS implementation, unless
the Cll# field can be reformatted to edit
for duplicate entries.

4. CDC#s are issued via a manual
system with inadequate quality
checking and no back-up
processes.

Because identification of the
inmate/patient begins with this number,
the CPR has an interest in manner of
assignment.

A. The current manual system needs
to be streamlined with checks and
balances implemented to ensure that
CDC#s are not issued to more than
one facility or inmate.

B. The logs completed by the facilities
at assignment should be audited and a
copy of this record kept at ID Control.

5. OBIS linking of CDC#s belonging to
a single individual is a manual
process.

Complete an external data analysis of
OBIS to identify potential duplicate
inmate records that have not been
linked.

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inmate across CDC#s.

6. The current system for CDC#s is All healthcare systems that use the
running. out of available new CDC# will need to be evaluated for
numbers for new inmates. There is | their ability to accept and store the new
a plan to change the number identifier. Those systems that are not
structure and implement this new able to use this identifier will need
scheme by 2009. modification. When that involves a

vendor, it will take additional time to
complete.

7. Key identifiers foreach inmate are | Implementation of networked systems
manually entered into many data that transmit identifiers electronically,
systems, creating increased allowing selection of the appropriate
opportunities for error. record will minimize these types of

identification error.

8. At CMF, outsourced lab tests are Investigate security concerns that have
manually entered into the LIS, prohibited an online interface with the
introducing the opportunity for outside lab vendor. Ensure an
errors. interface between Quest and the lab

system is implemented.

9. The lab systems do not link an Ensure pertinent, historical lab values

are available via the CDR.

10.Healthcare employees frequently do
not know the location of an inmate
when attempting to provide
services.

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11. There are risks inherent in the use
of the obsolete technology used by
OBIS and DDPS.

Implement software that includes up-to-
the-minute inmate location capability.
Provide appropriate personnel and
process changes that will support
accurate information.

The data should be migrated (and
backed up daily) to a more
contemporary platform as soon as
possible to mitigate risk of major
system failure.

12.Multiple MS Access databases
have been developed to address a
variety of data collection and
process needs. The prisons have
need for traditional health
information systems, but have many
unique attributes that influence how
these systems can be deployed.

Key technology needs include capture
of multiple, different identifiers for an
inmate, scheduling and registration
functionality and inmate location (“bed”)
management functions. Recommend a
data and functional requirements
project to be used as a basis for
evaluating market available systems
and/or need for custom development to
address these four key functional
needs.

13. Accurate identification of an inmate
does not appear to be an issue.

A. The CDR (or an external MPI)
needs to include these two

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However, it is a challenge to link
multiple CDC# records and multiple
different demographic data points
for an inmate.

requirements.
B. Any system acquired needs to be
“biometric” enabled.
C. Complete a data requirements
project to identify both off-the-shelf and
custom data requirements for MPI type
data fields.

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14. The scheduling system, IMSATS
fails to meet the organizations
needs. This is discussed in detail in
Appendix 3: Correctional Facility
Process Comparisons, B.
Scheduling Medical Services.

A. Deploy a new application as part of
an MP! implementation that is flexible
enough to meet the organization’s
varied needs.

B. Complete a data requirements
project to identify both off-the-shelf and
custom data requirements for the
scheduling and ADT functions required
to schedule, wait list, check-in and
discharge patient's from clinics, TTA
and “inpatient” beds.

15. Separate scheduling systems are
used for mental health and dental
appointments, making continuity of
care more challenging.

Incorporate these services in any new
scheduling system.

16. Although there is a critical need for
shared disease tracking throughout
the CDCR, current tracking is
fragmented by facility and by
disease category.

Implement a networked system that
incorporates disease tracking.

17.Use of MIMAS for chrono tracking is
limited because the system is not
available via a network.

If the chronos are included in the CDR,
access at least to medical staff will be
improved. However, the custody staff
also has needs for this information
which need to be considered in any
implementation plans.

18. Use of the Disability & Effective
Communication System (DEC) was
seen at just one facility.

Explore using this system in R&R at all
reception centers.

19. Need for manual synchronization of
system with updated DDPS
information impedes work functions.

While SOMS may alleviate the need for
manual synchronization, alternatives
for the proposed CDR and healthcare
network should be evaluated.
Performing a synchronization check of
anew MPI/ADT/bed management
system nightly from the centralized
DDPS database should be
accomplished fo identify potential

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20. The hardware on which DDPS and
OBIS reside is no longer
commercially available directly from
the manufacturer, only through
secondary vendors.

| Consider purchase and storage ofa

number of spare parts for these
systems as part of the disaster
recovery plan.

21. The data security plan for the
statewide systems is insufficient
and relies on the closed nature of
the computer systems (OBIS,
DDPS.)

Conduct a penetration study to
determine the risk of security breaches.

22.1T security plan is incomplete.

The EIS team needs to develop a
disaster recovery plan that is tested
appropriately, including a penetration
study.

23. Access to both OBIS and DDPS
was limited and caused inefficient
processes.

Te

RARE

24. There is a perception among the
employees of healthcare services
that the obstacles to improvement
may be insurmountable.

Work with the EIS team to improve
availability, both with security
assignment and in providing

with attention given to methods to
assist employees embrace and support
the planned improvements.

25.Employees have a vested

interested in the existing MS

Access databases, as many have

been internally developed.

26. There is difficulty ensuring the
inmates UHR is at the same
location s/he is.

on

Ensure the change management
strategy addresses transition to
standardized systems.

Managements ike yas L
implement a CDCR-wide MPI system
and a CDCR-wide chart tracking
system.

27.CDCR doesn’t have a true unit
medical record as the outpatient
and inpatient unit records are kept
separately and inpatient records do
not follow the inmate to the next
institution. .

Evaluate the practice of maintaining
separate records. It appears that
continuity of care could be
compromised by this record division.

28. The UHR has been removed from
the DORM imaging initiative.

Develop a comprehensive document
management plan that incorporates
some level of document imaging to
augment the electronically captured
data housed in the CDR.

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record retention

29, Record retention practices A. Review and modify
contribute to space issues within requirements
the correctional facilities. B. Consider further leveraging and

automating the Army Depot record

storage center to service as a center

for storage and retrieval of all records
with necessary courier and electronic
transmission capabilities.

30. The planned record filing system at | Consider housing all UHR in strict
the Army Deport Record Center is terminal digit order, using year/month
fragmented. The UHR is separated | stickers as flags for purging. This type
by discharged and paroled records | of filing scheme reduces the number of
and with the paroled records further | places one must search for a file,
separated by the month the parole | thereby reducing the amount of lookup
is to be completed. that must be completed prior to filing

loose reports.

31. The Army Depot center for health Develop this center into a first class
records currently is not equipped or | document management center,
staffed to meet service deploying best practices for acquisition,
requirements. storage retrieval, retention, record

destruction and communication while

delivering superior customer service to
the 33 institutions it serves.

32.A variety of chart tracking is used A single record tracking system should
by both the HIM departments within | be chosen and implemented across the
the correctional facilities as wellas | system. It would be most efficient to
Central Record Departments. include the C-File tracking in this

initiative. It is imperative that the bar-

codes produced by any tracking
system be standard and readable by
any device within the organization.

33. Coding practices within the A. Evaluate the entire coding process
correctional facilities are different, to determine if it is fulfilling a need.
references are out of date and B. Consider change to coding problem
personnel are under trained. lists at admission in order to facilitate

follow-up medical care.

34. Transcription services are . | A. Dictated and transcribed documents
underutilized. There is an existing are often a cornerstone of an Electronic
plan to improve and increase Health Record. The use of dictated
services by implementing a services should be further evaluated
centralized transcription service. | with a plan developed for increasing

usé.

B. The change to centralized dictation
is not trivial and must have a strong
communication plan to address

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provider issues.

35. Dictation equipment varies in age
with some equipment nearing the
end of usability.

Plan for equipment replacement as part
of the transcription initiative.

36.JA was unable to collect valid
statistics regarding volume of work
from any of the areas visited.

Implement new manual! systems to
capture workload volumes until this
function can be automated.

37. The skill level within the HIM
departments is inadequate to
support the planned CDR initiatives.

Increase the number of professionally
credentialed staff employed in the HIM
departments. A strong, strategic
leader is needed to ensure HIM
departmental practices support the
clinical information exchange and
information management needs for the
prison healthcare system.

38. Salary levels of HIM employees are
lower than community rates,
impacting the organization’s ability
to recruit quality staff.

Conduct a salary survey and increase
levels as appropriate.

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VI. Next Steps

This report has noted that several initiatives are already underway in an attempt to
address the problems identified during this assessment. Examples of current
activity include the Cisco wireless assessment, the centralization of offender
records at the former Army Depot, and early activity regarding the possible
centralization of transcription services to name but a few. In multiple discussions
with staff from the Receiver’s office as well as those in the field, there is obvious
enthusiasm for the ultimate implementation of a common electronic health record.
While this is a desirable end goal, the following next steps are recommended to
set the stage for such an initiative, as well as to improve and ensure continuity of
care for the inmates until the EHR is implemented.

e Review the capabilities of a standard EMPI solution, and based upon this
review and the needs of the inmate population, determine whether a robust
EMPI solution is needed or if basic MPI, ADT and scheduling solutions are
more appropriate at this time. CDCR only requires basic MPI functionality,
but core MPI functionality is paramount to the success of any future
healthcare information systems rollout. CDCR additionally has several
unique data field and data flow requirements that must be addressed as this
assessment is undertaken.

e Begin a re-design effort to standardize (to the extent currently possible)
processes that support health care delivery across all CDCR facilities. An
‘as is’ process could be initiated after prioritizing four to five processes that
vary widely from site to site.

e Review, update and test the current business recovery plan for the OBIS
and DDPS applications and databases. Identify the necessary investments
to ensure the viability of these critical applications until replacement
applications are successfully implemented

e Review and standardize chart management processes at all facilities, and
continue to invest in the Army Depot storage facility to ensure that it
becomes a best-in-class resource to the CDCR.

e Recognize that staff training is currently inconsistent across all facilities, and
that a standardized EHR solution will require a significant investment in
training and change management if optimal results are to be obtained. It is
not too early to plan for this need.

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Vil. Conclusion

lt is worth emphasizing that the prison system has several characteristics that
lend themselves to an optimal environment for providing continuity of care. These
_ include a small captive population with limited rights, “patients” who document
their requests for health services, a limited number of external contracted
providers, all potential patients are in a common database (OBIS) and services
are rationed by limited availability. These and other characteristics are enabling
features that can be easily leveraged in an automated record keeping system.
They are also characteristics that a competent lawyer would identify in defense of
an inmate who has possibly been harmed due to a break in the continuity of care.

The key to providing continuity of care is the accurate identification of.the patient
before, during and after each episode of care,

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IX. Appendices

Appendix 1: Correctional Facility Site Visit Descriptions

Appendix 2: Support Services Observations

Appendix 3: Correctional Facility Process Comparisons

Appendix 4: Reception Center Flow Charts

Appendix 5: Facility Specific Database Table

Appendix 6: Sample Scheduling System Data Field Requirements
Appendix 7: ISO 27002 Base Standards to Audit

Appendix 8: OBIS Record Growth

Appendix 9: California Medical Facility — Table of Specialty Services

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Appendix 1: Correctional Facility Site Visits

A. California Medical Facility

California Medical Facility (CMF) provides care to inmates with chronic medical
problems. There are ~3,000 beds that include 155 inpatient mental health beds, 7
acute care beds, 17 hospice beds, 25 ambulatory care clinic beds, 33 Correctional
Treatment Center beds and an Outpatient Housing Unit for inmates requiring
minimal care. There is a licensed stand-by Emergency Department where minor
complaints are treated with true emergent care needs transferred to local area
hospitals. Inmates with security needs from Level 1 through Level 3 are housed
at CMF. On average, there are 50 admissions and discharges per week, although
inmates tend to stay at CMF once they’ve been transferred into the facility. The
average stay is 24-27 months, with 95% of the inmates eventually released.

There is a high rate of return, although the inmate’s key identifiers (including
CDC#, name, date of birth, etc.) may be different on a return trip.

Tracking inmates with a specific diagnosis, such as diabetes mellitus, TB or HIV is
a daunting task, given the current state of automation available within the
correctional system. When an inmate is transferred within the system, those with
chronic diagnoses tend to blend in with the general population as there is a lack of
connected information providing automated functionality for disease tracking.

This causes roadblocks in providing an adequate level of connected care for
these inmates. Currently CMF uses 6-7 different individual MS Access databases
to track specific chronic diseases. These systems are stand-alone applications
specific to this institution.

The physicians at CMF who were interviewed for the consulting engagement
indicate that it was not their experience that inmates/patients are improperly

identified. Most of their patient population, due to their chronic conditions, is
motivated to provide proper identity in order to facilitate care.

Headway appears to have been made in fulfilling and/or catching up on a backlog
of Requests for Specialty Services. See Appendix 9. These statistics (pulled
from their IMSATS database) indicate that from July - November 2007, the
volume of specialty service appointments was over 5,400, while only 3,250
requests were made during this same time period.

'B. Deuel Vocational Institution

Deuel Vocational Institution (DVI) is one of the reception centers for men within
CDCR. This facility houses ~4000 inmates at any particular tire, although the
accommodations were originally designed to house 1600 inmates. The lack of
space was quite apparent, especially in the HIM department which was so small
that the consultants were unable to physically enter the areas where work was
performed without jeopardizing the employees’ ability to function. As a reception
center the entire population changes approximately every 40 days. There are
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groups of inmates that are permanently assigned to DVI, although the majority are
placed at main line prisons once the initial mental, dental and health evaluations
are completed. It was related that when treatment for a particular complaint is
begun at DVI, that the inmate is placed on a “medical hold” and the treatment
must be completed prior to transfer to the mainline prison. Therefore, if the
condition is not urgent, treatment may be delayed until the inmate is placed at his
permanent location. There is a significant backlog of requests for appointments
with outside providers. All treatment decisions must be made with the regulatory
requirements for timely medical care in mind.

Both the Chief Medical Officer (CMO) and the Healthcare Manager at DVI are
relatively new to the facility. Although the need for change to improve the
technology supporting healthcare is recognized by these individuals, significant
barriers were identified including substandard physical infrastructure, lack of
technological expertise in the employee population, inability of information
systems to provide adequate support and training for any newly implemented
systems and the culture of the organization that hampers embracing change.

C. CSP-Sacramento

Built in 1987, CSP-Sac is a Level IV facility whose population includes a
significant volume of inmates with mental health diagnoses. The facility houses
~3400 inmates. Healthcare units within this institution include Correctional
Treatment Centers, levels 1 & 2, an Outpatient Housing Unit and a Mental
Outpatient Housing Unit as well as the primary care clinics available for routine
outpatient care. There.is also a Treatment and Triage Area (TTA) where minor
health issues are treated. The medical staff component includes a CMO, 7
primary care physicians, ~80 Registered nurses and 40 Licensed Vocational
Nurse positions. —

One of the challenges and frustrations for medical staff who work at CSP-
Sacramento is the backlog of requests for outside medical treatment. There are a
limited number of providers contracted to provide these types of services, with
over 600 appointments scheduled through March of 2008. The facility is limited
by the ability of the outside providers to accommodate all the prison requests.

D. Folsom

Folsom is one of the historical prisons within the California Department of
Corrections. In operation since the mid 1870's, it currently houses approximately
4000 inmates and is designated a Level 2 & 3 facility. Approximately 80 inmates
are transferred on a weekly basis. Folsom is also associated with the Folsom
Transitional Treatment Facility, which provides services for drug addiction to both
inmates and parolees. In addition to clinics in each cell block, the facility also has
a Treatment and Triage Area that has one bed. Lab services provided include
specimen collection only, with all samples sent to Quest Lab for completion of the
test. Results can be accessed online or via the hard copy which automatically

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prints in the lab. Radiology services include routine radiological exams with the
exclusion of fluoroscopy, CT, Ultrasounds and MRIs.

E. Wasco Reception Center

This reception facility, located in the Central Valley, has a population of
approximately 5,900 inmates. There are 100-120 daily transfers, both in and out.
The population includes a large number of parole violators who arrive without their
C-file or healthcare record. On average, inmates stay at Wasco for 90 days. This
center is also a hub for processing inter-state transfers, i.e. inmates who are sent
to facilities in other states to serve their sentences. Wasco is associated with a
Community Correctional Facility ina nearby community and provides the
healthcare services to these inmates as well. There is a Correctional Treatment
Center unit at Wasco as well as clinics in each yard.

In-house radiology services provided include routine exams with chest x-rays
completed in the Receiving and Release area as the incoming inmates are
processed. A Siemens x-ray machine is used, but there is no digital capability.
This department has developed an internal tracking system for radiology films and
dates of service. Schuylab is used for in-house lab tests. These include
Chemistries, CBC and UAs. Other lab tests are sent to Foundation Lab for
processing. The results from tests sent to Foundation Lab print in the lab
department, and then Schuylab is updated to indicate that the result has been
received, although the test result is not entered. Test results can be searched for
directly in the Foundation Lab database.

F. Valley State Prison Reception Center for Women

Valley State Prison for Women (VSPW) is a reception center for women that
houses approximately 4,200 inmates. This facility is the highest security ievel
prison for women with all four security level inmates in addition to an
administrative segregation unit. VSPW has about 400-600 inmates transferring in
and out on a monthly basis. Inmates in the reception center portion of the facility
generally stay for 75-80 days with the longer term inmates remaining 13 months.

The facility offers community level care for its inmates including special clinics and
services. Some of these are offered onsite; others must be accessed directly in
the surrounding communities. There is a CTC unit with 20 beds where post-
surgical care is provided as well as EKGs, bed rest and wound treatment.
Radiology services are provided via a Fuji CR digital system. The.system
produces films for the radiologist to view and read and is not a PACs system.
Schuylab is used for lab scheduling. Specimens are drawn onsite and sent out to
Foundation Lab for processing. Results are available online via the Foundation
Lab system. Once the test result is returned from Foundation Lab, Schuylab is
updated to indicate the test result has been received, but the results are not .
posted in this system.

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Appendix 2: Support Services Site Visits

A. ID Control Unit

The ID Control Unit, based in Sacramento, is charged with maintenance of the
inmates’ legal records. Included in the specific responsibilities of this unit are the
calculation of dates for parole and discharge, issuance of the California
Department of Corrections identification number (CDC#) and also serves as the
call center for law enforcement and family members who are attempting to
determine the location of a specific inmate. Each correctional facility has a local
Central Records office that maintains the legal file for each inmate. The unit relies
upon the Offender Based Information System (OBIS) as the source of inmate
information. This database is used throughout the correctional system as the
source of integrated inmate information. Due to technical limitations which will be
discussed later, the system often does not reflect an accurate location when the
inmate is in transit, which creates difficulty meeting service expectations of the
department's customers.

inmates are identified via a centrally distributed CDC#. The number is used as
the primary identifier for an inmate’s C-file or legal record, the identification card
and the healthcare record. This identifier is comprised of a single alpha character
followed by five digits. Alpha characters have occasionally been used to identify a
particular type of inmate, resulting in limitations of available free numbers. For

- example, female inmates are generally assigned numbers beginning with W and
X. A“Z” used at the end of the number indicates inmates who have not yet
received a sentence, therefore. numbers beginning with the letter Z are not used to
eliminate confusion. The practice of using a particular letter to code a type of
inmate or incarceration further limits a finite supply of available numbers. It is
projected that there will be a need to change the numbering system by 2009 to
allow for prison system growth. Plans are currently underway to change the
CDC# system to allow 2 alpha characters. All databases that currently use and
store this identifier will need to be updated to accommodate the numbering
change.

Control of CDC# issuance is a totally manual process. The numbers available for
assignment are stored in a three ring binder in the ID Control Unit offices. The
numbers are primarily distributed in blocks of 100 to a particular reception center,
although a mainline prison may also be given a smaller group of numbers. The
name of the person and institution receiving the numbers are recorded in the
binder and a large “X” placed through the page of numbers to indicate that the ©
numbers have been assigned. It appears that number distribution can be via the
telephone or via a faxed copy of the number log sheet, as both practices were
observed at the reception centers. There are a number of concerns regarding the
CDC# issuance process. First, there appears to be no backup for the three-ring
binder. If the book should be lost, damaged, misplaced or otherwise
compromised the data would be very difficult to reconstruct. Second, there is no

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audit process evident that monitors this manual system for inadvertent issuance of
duplicate sets of numbers to different facilities. in addition, the entire process is
fraught with opportunity for error as the numbers are verbally transmitted,
recorded manually at the individual institutions in log books prior to being given to
a particular inmate and eventually entered into OBIS. The ID Control-unit does
not truly control the CDC#s, as they have no documentation of to whom a specific
number has been issued other than by research of OBIS after the number is
assigned and entered into OBIS at the facility. This cross-reference checking of
issued numbers is not a process used, as the jog books at the ID Control Unit do
not display any specific inmate information, only the institution to which the
number was issued.

The CDC# is valid as an identifier only as long as the inmate has not been
discharged. Once the inmate completes the terms of his conviction and parole
and does not re-offend within this window, the CDC# is retired. If the individual
commits another crime during his parole, the current CDC# remains in use. If the
individual is re-incarcerated after they are paroled/"discharged’”, they will receive a
new CDC#. Inmates are not assigned a lifetime single identifier by the California
Department of Corrections and Rehabilitation. The lack of a unique identifier that
remains with a specific individual for any incarceration creates difficulty in properly
identifying an individual and in providing links between historical and current
information. This challenge exists for both the legal file and the healthcare record,
but may be more acutely felt on the healthcare side as provision of care for
chronic conditions is compromised by incomplete historical information.

The identification process used within the prisons to ensure that an inmate is the
individual s/he purports to be includes use of Live Scan. Live Scan is a biometric
system that electronically records and submits an inmate's fingerprints and
confirms identity via the California Department of Justice and the FBI's criminal

' database. The results sent back to the correctional facility includes the inmate's
key identifiers including last name, first name, birth-date, gender and Criminal
Identification Index number (Cll). The Cll is an identifier “owned” by the
Department of Justice. While it appears on the legal forms in an individual's case
record and is input into OBIS, it is not used as an identifier by the correctional
system. JA was informed that there were statutory limitations regarding use of
this lifetime identifier by any entity other than the Department of Justice. The field
used to store the Cll number in OBIS is a text field and is not used for any audit
purposes.

Because the importance of linking all of an inmate’s records together is
recognized, there is an attempt to provide a manual historical link. When it is
known that an inmate has prior convictions, the CDC#s are cross-referenced
within OBIS. This is accomplished by the previous CDC#s being entered on the
current CDC# record. OBIS has the ability to cross-reference up to 10 inactive
CDC#s and 4 active CDC#s. The cross-reference is another manual process that
is performed by Case Records staff at the individual facility as they are inputting

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the inmate’s new legal information into the system. No process to routinely
search OBIS for previous CDC#s was related or observed; instead the process
appears to rely on the C-file containing references to the previous CDC#s. The ID
Contro! unit indicates that OBIS does not allow records with different Clls to be
linked, however despite extensive follow-up this process remains unclear. If
errors are identified with inappropriately cross-referenced CDC#s, the cross-
reference can be deleted within OBIS. The need for an inmate to have more than
one active CDC# is very limited, but does occasionally occur in these
circumstances:

e an inmate has a dual commitment

® an out-of-state inmate housed in California commits a crime while

incarcerated
* a parolee is housed as a “Safekeeper’” inmate.

B. Army Depot Health Record Storage

Health records for inmates who have been released on parole or who have been
discharged from the system in the past have been stored at two record centers ~
one located in the Northern part of the state and one in the Southern portion. The
inmate's records were sent to the record center closest to the location of his/her
parole. The storage facilities were overcrowded and outside contracted storage
was used to increase capacity. In addition, there are records stored in an
otherwise unused area of the Sac facility. These records have sustained water
damage and must be carefully handled when attempting restoration via copying
pertinent information and reconstructing a useable copy.

There is an initiative currently underway to centralize health record storage at the
Army Depot Center in Sacramento. This facility is in the process of being set up
with shelving to accommodate all the health records for the entire state. To date,
‘the records for the Northern Record Center have been relocated to the Army
Depot and are in the process of being sorted and filed. The plan is to store the
records of paroled inmates separately from those of inmates who have been
discharged.

Prior to assigning the permanent shelf site, each record is being researched in
OBIS to determine the current status of the inmate. When the inmate has
returned to the prison system for parole violation or for a new crime, the health
records are sent to the current prison via a courier system. Prior to sending, the
record is updated to reflect the new CDC#, if this identifier has been changed.
The location of each record is entered into a separate tracking system, referred to
as the C-file tracking system that is also used to locate the C-file. Unfortunately,
this is not a centralized tracking system for health records as the Army Depot is
the only location to use this system. The ability of staff to research each record in
OBIS and to locate the records properly in the C-file system is hampered by lack
of access to these systems. At the time of the site visit, there was only one
workstation with OBIS installed on it, although others had been requested.

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Researching current locations is quite a daunting prospect when comparing the
volume of records awaiting this process with the ability to accommodate the
lookups via a single computer.

C. Enterprise Information System

As part of the consulting engagement, a meeting was held with key EIS staff
members who support both OBIS and DDPS. This group is responsible for
maintenance of the programs and hardware, security access and routine
processing for both systems.

1. Offender Based Information System

The Offender Based Information System was developed in 1975 and has been

_ enhanced over the years to accommodate new regulations and user
requirements. The operating systems, programming languages and hardware are
all outdated by any measure. The system is used to track each inmate for the
duration of his incarceration and parole for a particular violation. Although the
system accommodates linking of different CDC#s assigned to a specific individual
the database is not structured to track this same individual in a unique and
consolidated record throughout their life time. Although the lifetime Cll# is stored
in OBIS, the information is formatted as a text field and not used as an edit for
future entries.

The ability of the system to accommodate transfers between facilities is
compromised due to the length of processing time required to run a reconciliation
process. Instead of completing the Daily Report of Arrivals and Discharges
(DRAD) each day, this important process is run only two times per week, due to
system constraints. While the DRAD is run, the system is “closed” meaning that
the facilities must wait until the system is once again available to record transfers.
Both the transfer out from the first correctional facility and the transfer in to the
second facility must be entered into OBIS before the system will reconcile this
inmate’s current location. In reality, the OBIS database is rarely completely
accurate regarding all prison population locations as there are always transfers
, that have occurred but are not yet entered into the system, the system may not
have reconciled the discharge with the arrival at the new location. In addition
inmates are occasionally in route for a couple of days. JA consultants were
frequently told that on any given day, there are 1,500 — 2,000 inmates in a
different physical location than what is indicated in OBIS.

A critical issue within the OBIS database is the numbering system. The CDC# is
currently comprised of one alpha character plus five numbers. The OBIS support
team has developed plans to change the system to allow for 2 alpha characters
plus four numbers. The numbering schematics have been developed and the ~

- change in the database structure will be completed prior to implementation in
2009.

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2. Distributed Data Processing System

The Distributed Data Processing System or DDPS is primarily a local inmate
tracking system used in each facility. This database began in 1985 and is a
Hewlett Packard proprietary turbo image hierarchical database running on an HP
3000 using a MPE/iX Posix operating system. The programming language is
COBOL. There is concern that the aging hardware is no longer manufactured, is
well out of its warranty period, and no longer supported by the original equipment
manufacturer making system failure due to hardware unavailability a very real
threat.

DDPS is a distributed system used by all 33 institutions, with several servers
located centrally. Each facility’s data is backed up to the central servers every
evening; the data is processed, and then returned to the field computers. DDPS
receives an extract from OBIS each day. Edits are run to identify discrepancies
between the systems, with typical error reports containing between 200 to 1000
records that did not match exactly. These reports must then be reviewed and
researched manually to determine what data is in error and which system must be
corrected to reflect the proper data. JA had the opportunity to review an old,
previously worked report. The report contained 272 discrepancies, with only 5 -
errors reflecting a patient identification error of some sort. One was a keying error
of the CDC#, one was an inmate with a known ACA (Also Committed As) and 3
were entries containing the CDC# plus 5 characters of the inmate’s last name.
These last three appear to be search errors where the individual using the
database is actually trying to search the system for an existing inmate rather than
completing a data entry function. Additional research would be necessary prior to
drawing final conclusions, however.

The mission critical nature of the DDPS application at all CDCR facilities is not
reflected in the technology investments and staffing within EIS. The “daily
download” from DDPS triggers the synchronization of scheduling activities and is
uploaded to multiple stand alone Access databases within each of the facilities.
Innumerous correctional and healthcare activities are dependent upon these daily
uploads.

Based upon a sample of 18% of the CDCR facilities, it appears that the health
care services for the inmates are directly dependent upon this EIS supported
application. Consequently, it is critical that business recovery and business
continuity plans be put in place to minimize the very real risk of jeopardizing
inmate health care services across the state for an extended period of time.

3. Strategic Offender Management System

SOMS is the name given to the system being considered as a replacement for
OBIS and.DDPS. This system is in planning stages with vendor identification,
purchase and customization to be completed in the future. The system would be
designed to track an individual throughout their lifetime instead of tracking each
incarceration as does OBIS. The new system is expected to be developed using

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services oriented architecture (SOA) design methodology, with a target date for
implementation is December 2012.

4. Discharged Offender Record Management

DORM is the name of the imaging system being used to archive discharged
inmates legal C-file. The program was planned to include imaging of healthcare
records as well. The first healthcare records scanned were loose sheets at the
two record centers with ~6.5M sheets scanned. Unfortunately, the forms were not
bar-coded to facilitate indexing causing the cost of the system to rise dramatically.
In addition, the documents chosen for scanning (loose sheets dating back to the

~ early 1990's) provided little benefit for continuing care. Therefore, the CPR
elected to discontinue imaging UHR documents at this time.

5. Security

Security for both OBIS and DDPS is centralized although some responsibilities for
security assignments have been delegated to IT representatives at the individual
institutions. OBIS has between 6,000 and 7,000 users. One individual processes
access requests centrally. The passwords must be changed every 35 days.
Multiple incorrect entry of a password inactivates the user, who must then be re-
activated prior to continued use of the system. DDPS access is handled by the
local IT coordinator. When a user has not used an ID for 45 days, it is revoked. If
it is not used another 45 days, the ID is deleted but available to be reused in the
future. The EIS team does not oversee security for any of the access databases
used within each facility.

While limited audits are completed by case records, there are no audits of access
by employees to data within either DDPS or OBIS. There appears to be no
system to delete access of an employee when they resign or are discharged with
CDCR staff feeling that is not a concern due to the inability of such staff to re-
renter the facility and gain access to the systems.

6. EIS Challenges

The EIS team expressed concerns regarding the challenges of meeting the
requirements imposed by lawsuits brought against the California Department of
Corrections. The current systems are not flexible enough to provide for the data
collection required for reporting regarding these lawsuits. Time consuming
tracking systems have been developed, but they take resources away from the
basic functions of this department.

There is also concern regarding the new CDC numbering system and the need for
all downstream databases to accommodate the new numbers. A third area of
concern is the obsolete hardware upon which both OBIS and DDPS reside. A
significant amount of resources are expended to keep these systems operational.
Finally, concern.was expressed regarding the relative age of the EIS team
members who support OBIS. The team is nearing retirement age and do not
have replacement staff who are knowledgeable about this system.

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7. EIS Discussion

While data security is a significant concern, the ability of the current systems to
function effectively until SOMS is implemented is seriously in question. The
HP3000 environment is not on the verge of obsolescence. ..it is well past it.
Support costs will continue to escalate, and there may well be no support
available by 2013 when SOMS is scheduled to replace it.

In addition, the OBIS staff is nearing retirement with no one waiting in the wings to
replace them. The skill set required is not one that has a rich supply of talent lying
around. A strategy to bridge to SOMS is essential; otherwise the system is at
significant risk.

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Appendix 3: Correctional Facility Process Comparisons

A. Receiving and Release

All inmates enter a correctional institution through the facility's Receiving and
‘Release (R&R) area. As this is a focal area for proper identification of an
individual inmate, the processes employed here warrant further examination. In
general the process was similar for all the facilities visited, but there are variations
to be noted. The processes at the three reception centers will be described first.

1. Initial Identification of Inmates

Inmates arrive from county jails either as new offenders, parole violators or
inmates who return for a new crime committed while on parole for a previous
crime. Each inmate is accompanied by paperwork from the county jail which
identifies him. When the incarceration involves a newly sentenced crime this
paper work includes the Abstract of Justice (AOJ) which contains pertinent
identifying information about the inmate, including existing CDC#s and the Cll#.
When the inmate is new to the correctional system or when a previous CDC# has
been discharged, the inmate receives a new CDC#. Parole violators being
returned to the Correction system normally do not have as much paperwork
accompanying them. For these inmates both the C-file and the healthcare record
must be requested from the storage areas.

At DVI, OBIS is researched to identify any current information about the inmate,
including whether there is an active CDC#. When a new CDC# needs to be
assigned, the number is retrieved from a log book. The available numbers are
recorded on faxed pages received from Central Records in Sacramento. These
sheets are used to manually record the inmate’s last name and the date of

_ assignment. The CDC# is recorded on the paperwork accompanying the inmate.
At DVI the CDC# is entered into OBIS by records center staff located in the R&R
area.

Wasco Reception Center generally does the search of OBIS the day prior to
arrival, as the office personnel receive a list of tomorrow’s transfers each day.
Searches are done using both the inmate’s last name and first name with the
dates of birth reviewed to identify the correct inmate’s record. When CDC # is
assigned, it is retrieved from a handwritten log of numbers that were assigned by
Central Records in Sacramento. The inmate’s name is recorded manually in the
log book and the CDC# written on a sticky note that is attached to the AOJ
paperwork. The CDC# is later input into OBIS by the local Central Records staff.
The number is added to any health screening documents created in the R&R
area.

VSPW generally receives first time offenders, all who must be issued CDC #.
Again, a manual log is maintained. Numbers assigned to VSPW by Central
Records in Sacramento are written in log books. Separate books are maintained

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for the various types of CDC#s, so that regular CDC#s are assigned separately
from Narcotic associated CDC#s. As part of the reception process, a body receipt
is typed that includes the CDC#, along with the other inmate identifiers. This
information is then faxed to the local Central Records office where it is input into
OBIS.

All the reception centers use Live Scan as part of the R&R process. Prints of all
fingers are taken and submitted to the Department of Justice to confirm
identification. This DOJ database is also linked with the FBI database.
Information is returned regarding the inmate’s key identifiers, including the Cil#. If
this is different from the information thought to be correct, follow-up is done at
both Wasco and DVI. However, at VSPW, the officers processing the new
inmates did not receive information back after the fingerprints were submitted;
therefore no identity confirmation was done. Perhaps this lack of a confirmation
step is due to the high volume of new offenders routinely processed at this
women’s facility. After the Live Scan is completed, the inmate’s photo is taken
and the identification card produced.

DVI uses an internally developed program called LANCE to assist in tracking
inmates and any special housing needs. Wasco uses a very ancient Brother word
processing system to create bus lists that are then used in processing. At VSWP
the custody staff did not indicate that any database was used for custody
processing of incoming inmates.

The identification of inmates at the reception centers blends state-of-the-art
biometric identification tools with extremely labor intensive manual processes.
Adding the correct CDC# to the inmate’s OBIS record is a process that goes
through many hands, increasing the opportunity for errors to occur. The CDC#
and other patient identifiers are manually input into DDPS at each facility. If the
data entered into DDPS doesn’t match the data entered into OBIS exactly, an
error is logged when the reconciliation occurs at the EIS department in Rancho
Cordova and each discrepancy must be manually researched and reconciled.
Since downloads of DDPS data are used in a multitude of individual databases
throughout each correctional facility, any discrepant data is multiplied throughout
these systems. The proper identification of inmates at arrival is critical to future
delivery of timely and appropriate medical care, as the healthcare systems are
recipients of the DDPS data.

2. Reception Center Initial Health, Mental and Dental Screening

All incoming inmates are screened in the reception centers to identify current
health needs. TB tests are routinely completed at R&R unless there is
documentation with the inmate regarding their TB status that falls within time
guidelines. When a TB test was administered at the county facility prior to
transfer, the test is read by staffin the R&R areas. Inmates generally have some
type of health record that accompanies them. The information is reviewed to
identify any immediate medical needs. Existing medication orders are reviewed

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and may be recopied for review/signature by the facility physician. If meds are
needed immediately, they can be provided by the nurse following set protocols. A
five point mental health screening, medical and dental screening is completed,
with blood work drawn for mandatory syphilis testing. The inmates will be more
thoroughly evaluated by physicians at a later time while at the reception center.
The health screening at R&R is designed to accommodate immediate needs for
medication or treatment and to identify limitations that impact housing assignment,
such as the need for assistive devices or lower bunk requirements. If an inmate
requires treatment at the time he arrives, he will be transferred to the TTA for
additional evaluation.

The nurse at Valley State Prison for Women indicated she uses a system called
DEC — Disability and Effective Communication system to research inmates for
information on chronic diseases and disabilities. This was described as a
statewide custody system with real time access via internet. This is the only place
DEC was seen, and the nurse indicated that she heard about the system by sheer
serendipity, gaining access to it via her own initiative. In addition, a system called
Form Gen 2000 was used to generate the standard health screening forms with
pre-print inmate names & CDC #s on the forms.

3. Discussion

The striking observation in each of the reception centers visited was the number
of times the inmate’s primary identifier is manually input into a variety of systems.
The databases are predominantly stand alone systems that rely on a once per
day update via a download of current DDPS data accomplished either via a file
posted on the facility’s LAN or via a diskette or thumb drive manually transferred
from user to user. Due to the isolation of data within each database any change
is not reflected real time and often impacts the ability to deliver timely care to the
inmates.

Manual data entry equates to opportunities for errors. Transpositions, keying
errors and variances in conventions used to enter the inmate’s name and other
key identifiers lead to time spent in identifying and reconciling errors. There are
undoubtedly errors that are not identified.

High level flow charts that follow the CDC# issuance in the reception centers have
been developed and are attached in the appendix. These provide a visual
representation of the amount of manual entry of the CDC#. (See Appendices 1 -
3)

4, Mainline Prison R&R

The process used for incoming inmates is similar across the institutions. The
custody staff identifies the inmates via their picture IDs, compares the inmates
with the bus list that arrives with them. Inmates are supposed to have their C-files
and their unit health record with them when arriving at a mainline institution. The
Unit Health Record (UHR) does not always arrive with the inmate — normally,

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there is at least a transfer form from the sending institution that documents known
health issues or a “flimsy file” (copies of pertinent health reports) with the inmate.
The health information management department of the prison is contacted to
follow-up on retrieving the UHR from the sending institution.

The mainline prisons have a nurse assigned to the R&R area. A medical
assessment of the inmate is completed prior to finalizing housing assignments.
When chronic illnesses are involved, the nurse ensures that appropriate ©
medication is provided, Any emergent needs are sent to the facilities TTA for
further evaluation.

The custody staff interviews the inmates and uses the information contained in the
C-file during this interview and determination of housing assignments.

B. Scheduling Medical Services

Inmates have access to forms to request healthcare services. These request
forms (#7362) are available throughout the prisons. Once the form is completed
by the inmate, it is placed in locked coilection boxes located in each cell block.
Requests are collected daily. The process used to actually schedule the inmates
varies from facility to facility. Once facility enters the requests directly into the
Inmate Medical Services Admission Transfer System (IMSATS) and these are
triaged by a nurse to determine which actually need to be seen by a physician and
which can be scheduled for an appointment with a nurse. Another facility reviews
the handwritten forms, divides them into health, mental and dental requests and
triages the requests. Those that are approved for services are then given to the
schedulers for scheduling into IMSATS. A process used at Wasco for
appointments in the yard clinics appears to bypass IMSATS altogether, as the
7362s are collected and reviewed by the nurse with a hand written schedule
created for the physician covering that yard.

The primary computer application used for scheduling medical services is
IMSATS. This MS Access database was developed internally and is supported by
the Healthcare Division in Sacramento, not the EIS team. To operate effectively,
the system must be updated daily via a download from DDPS, as the inmate’s
location is crucial to the ability to produce the ducat that facilitates inmate
movement to the clinics. The system is also used to track an inmate's heaithcare
requests and to determine if the institution is meeting judicial requirements for
providing timely, appropriate medical care. To do this tracking effectively, the
appointments must be linked when scheduling, something that is not always
possible. When the reports produced from the system don’t demonstrate
compliance, time consuming audits must be completed to determine if the
institution was within the requirements.

Because there is no real time interface from DDPS to IMSATS or from one
IMSATS workstation to the next, daily synchronization of each workstation is
completed. Synchronization varies from uploading a file posted to the LAN to

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manually passing a diskette or thumb drive from worker to worker. It was
emphasized in all facilities that the synchronization must be done in a specific
order. Individuals are assigned a window of time in which to perform this task.
The reported ‘ength of time it takes to complete the synchronization varied greatly,
from just a few minutes to up to several hours to synchronize all workstations in
the scheduling department at CMF. At CMF the synchronization process also
includes synchronizing IMSATS workstations (in the correct order) so that
appointments scheduled by one employee will be viewable to the employees who
synchronize after that. Regardless of the method used to complete
synchronization, the need for a reai time system where information entered on
one workstation is readily available to any other person who might need to view it
is apparent. This need also applies to DDPS, whose information drives so many
functions required to deliver medical services.

Other systems that were being used within scheduling areas include Cor-Med
(Correctional Medical Management System), a system to produce ducats seen at
VSPW. A Temporary Medical Release (TMR) system was in use at DVI which
generated the Request for Authorization of Temporary Medical Release (form
7252) that is needed prior to an inmate leaving the facility to receive care from an
outside provider. Both systems utilize information from DDPS. The radiology
department at Wasco uses an internally developed Access database to track the
services provided in addition fo film tracking.

Mental health services are scheduled directly in MHTS (Mental Health Tracking
System) which also houses some of the mental health medical record which is
then available online, at least within the specific facility. JA consultants did not
have an opportunity to view the dental scheduling system, but were informed that
a separate system was in use.

1. Specialty Clinics

When possible, medical services for inmates are provided within the correctional
institutions. All of the facilities visited had some level of specialty services that
were provided by outside providers directly on the campus. However, there is
always a need for services that aren't available onsite. No firm volumes of
services falling in this category could be discovered. The best estimates are that
90% of the overall healthcare services are provided within the correctional
facilities and 10% of care is received from the surrounding community healthcare
providers. If one looks at the services that are deemed “Specialty Clinics’, i.e.
diagnostic tests requiring specialized equipment, diagnostic screening that
requires speciality practitioners or surgical interventions and inpatient medical
treatment, approximately 30% of these types of services are provided within the
campus with 70% requiring the services of practitioners in the community.

When one of the correction department physicians requests outside services for
an inmate, the request is screened by a Utilization Management nurse. This
screening process varied in the institutions visited and ranged from application of

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established protocols to referral for review by MARC, a medical review committee
comprised of staff physicians. Once a request for services is approved, it is sent
for scheduling. Scheduling outside appointments is a challenge shared by ail of
the institutions. The lack of available appointment time slots for inmates results in
a large backlog of pending appointments. CSP Sacramento indicated that they
were fully scheduled for available outside appointments with over 600 pending.
appointments scheduled through March of 2008. At Wasco, there is also a high
volume of pending requests, although the registry employee performing this task
indicates the volume has been significantly reduced in the last 6 months.
Although firm statistics were not available for the volumes pending, it was
indicated at Wasco that approximately 60-70 requests are received daily with only
10-25 inmates sent out for appointments each day.

2. Scheduling Discussion

Most of the issues common to the scheduling function revolve around data
availability. These issues include:
* Lack of real time data regarding inmate’s location
e Daily DDPS synchronization requirements
e Daily synchronization of IMSATS workstations with each other
e Future schedule isn’t available to caregivers, causing many phone calls and
second requests
Schedule must be coordinated with ducat system
e Linking of related appointments to demonstrate judicial requirement
compliance is manual with many opportunities for errors
_ ¢ Statistics regarding volume of requests and appointments are not routinely
collected. There is some IMSATS capability to produce reports, but it is
unclear if all statistics are available via this tool.
*« Mental health and dental appointments don’t link with IMSATS, causing
conflicts with scheduling a specific inmate and with coordinating care.
e Specialty scheduling system at Wasco didn’t appear to handle the DDPS
' uploads correctly,
* Inmates are frequently transferred prior to a routine appointment. Lack of
communication regarding the transfer results in jast minute effort to fill the
allotted timeslot with a different inmate.

“7

These issues could all be addressed by a system with real-time updates of inmate
information that can be accessed by appropriate caregivers and other personnel.
Unfortunately, because the data isn’t linked a multitude of manual work-a-rounds
have been implemented that are generally successful in outcome, but extremely
labor intensive.

C. Health information Management (Medical Records)

The Health Information Management departments (HIM) share similar functions
across all the visited facilities. Core services include Unit Health Record (UHR)
retrievals for patient care, UHR transfers for inmates being transferred either in

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and out of the institutions, release of information, loose sheet filing, coding &
census for inpatient and specific outpatient treatment units and transcription of
either dictated physician reports or chronos. Although an evaluation of the HIM
functions was not the primary purpose of the consulting visit, the basic functions
performed by members of this department are impacted greatly by proper
identification of both the inmates and the reports contained within the Unit Health
Record. Inmate or patient identification is a core building block of the existing
systems, tools and processes used to provide HIM services to the institution.

Every department uses DDPS and OBIS, although access in some is quite limited
with only one workstation with these programs available to the entire department.
In addition Lanier dictation and CADDIS (Census and Discharge Date Information
System) were used consistently, although what was tracked in CADDIS varied
from prison to prison. There were two chart tracking systems observed,
MEDCATS and CRIS (Complete Integrated Record System), although not all of
the prisons had a chart tracking system. Both MEDCATS and CRIS include
barcodes for the UHR, however it is not clear if the barcode labels are
standardized so that they may be interchangeably read. The MIMAS system
(Medical Writing & Chrono Tracking System) was used in two of the HIM
departments to assist with chrono tracking. Although MIMAS is a helpful tool to
track basic information regarding the inmates, each workstation is stand-alone so
that the data contained does not link to another MIMAS workstation and is

- viewable to just one individual at a time. MIMAS is synchronized daily with DDPS,
as are MEDCATS and CRIS. At CSP Sac, MEDCATS is updated via ARTS which
has been synchronized with DDPS. CADDIS information is manually entered.

The UHR is filed in a color-coded folder in modified terminal digit order using the
CDC# as the medical record number. The last two number of the CDC# are
color-coded and provide the first grouping of numbers, and then the records are
filed in alpha/numeric order. Records of inmates currently in residence are
supposed to be located onsite. When records are missing, research must be
completed in OBIS to determine where the inmate was previously housed and the
records requested from that location. The outpatient and clinic record is kept
separately from what is considered an “inpatient” record and identified by a
different type of folder. While the UHR travels with the inmate to his new location,
the “inpatient” record remains at the treating facility. This would appear to create
an issue with continuity of care from one facility to the next, although portions of
this record are copied and placed in the UHR. Records of inmates who have
been paroled or who have fully completed the terms of their sentence and have
been discharged are sent to the Army Depot Health Record storage. The records
of inmates who die while incarcerated are kept locally for a period up to 10 years.
Copies of these records are created and sent to Sacramento for review. The
death records are housed onsite so that they are available for any legal
proceedings regarding this inmate.

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Staffing of the HIM departments was comprised of Health Record Technicians |
and II, Medical Transcriptionists (although this position goes by the term Medical
Transcriber which actually describes the machine used for transcription purposes,
not the individual performing the task), and Office Assistants and Technicians. -

~ During the assessment just two professionally credentialed HIM staff, both RHIT
(Registered Health Information Technician-two year degreed individuals) were
encountered. No RHIAs (Registered Health Information Administrator-4 year
degree) were identified as being employed by CDCR. These individuals may
have been considered Health Record Technician Ill. Coding staff members
questioned indicated previous experience at local medical facilities or background
in the medical billing industry. Salary levels for HIM staff members start at
~$25,000 per year and top out for the highest classification at slightly over
$53,000. These salary levels are dramatically lower than comparable salaries
within the local medial communities, especially for the technical and management
positions.

1. ICD-9 CM Coding & Census

All the correctional facilities were consistent in using the CADDIS system both to
track inmates who were housed in the inpatient and outpatient treatment units
within the facilities as well as those who had been admitted as an inpatienttoa .
medical facility outside the prison. CADDIS is an MS Access database. Inmate
information is manually input into the database by HIM staff. The census of each
unit is tracked as a separate entity. When an inmate is transferred between
treatment units, he is discharged from one and admitted to the second. There
was inconsistency with the way inmates who were sent to the community
Emergency Department were recorded. At one facility, the consultants were
informed that whenever an inmate was absent from the treatment unit at midnight,
they were considered discharged and had to be readmitted when they returned.
A second facility indicated that if the inmate returned to the original unit from the
outside ED by the next morning that a unit discharge was not done.

Routine ICD9 coding was done at all locations, however the information coded
and the methodology used to arrive at the codes was very inconsistent. One
institution indicated that they coded the admission diagnosis; another indicated
the discharge diagnosis was used. Some enter just one code; others code every
diagnosis available to them. All of the facilities appear to be using out-dated ICD9
coding books. One facility was using a 1999 edition, with the most recent edition
seen still a couple of years out of date.

It was difficult to understand the purpose of the [CD9 coding that is in place. The
consultants were informed that the facilities code the visits to the community
facilities and that this information is provided via a download from CADDIS to the
HCCUP (Health Care Cost Utilization Program) and the information is used to
validate the bills from the community facilities prior to payment. It was not
understood how the coded data from the internal treatment units was used, nor by

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whom. If the data is aggregated at the Sacramento location, its validity must be
questioned for the following reasons:
1. Coding practices are not consistent from facility to facility;
2. Coding is completed by staff with minimal or no coding credentials;
3. Coding resources are outdated;
4. Coding is completed only for a small portion of the prison population,
negating the ability to use the coded data for disease tracking and
monitoring for the larger population.

Upon questioning HIM staff regarding a Master Patient Index in one institution, the -
staff member responsible for coding indicated that a manual index was kept on

3x5 index cards that contained pertinent information for this inmate and each
treatment episode. The card were completed by hand and stored in a small filing
cabinet. Another institution indicated that they used DDPS as the MPI while a

third indicated that the MPI could be printed directly from CADDIS. Unfortunately,
when he attempted to do this at our request, he was unable to produce the report
successfully.

2. Transcription

While all the facilities visited have a Lanier dictation system, the technology varied
greatly in age and also in the way it was used by the physicians. Documents are
transcribed using MS Word. The general impression is that transcription is
staffed, but not fully utilized. Few reports were routinely dictated by the medical
staff, with some of the most frequent dictators being outside clinicians who are
brought in for the specialty clinics. Some of the HIM department managers are
attempting to increase utilization by educating the medical staff regarding the
-available services. When questioned about his use of the dictation system, one
medical staff member related that it was his perception it would take too long to
find a phone (one wasn't readily available in the treatment room), dictate the
report, wait for the results to be typed, review it for accuracy, sign it and then send
it to be filed tn the medicai record. It was more efficient to simply write the
pertinent .information in the patient's UHR at the time they were being treated. It is
clear that promoting use of a dictation system will require a carefully planned
approach that takes these barriers into consideration.

At two sites, the medical transcriptionists were responsible for typing chronos into
MIMAS (Medical Writing and Chrono Tracking System). MIMAS is again an MS
Access database. Information from the various types of Chronos are typed into
MIMAS which then serves as a secondary repository for this information. The
information contained on chronos are used daily by many various correctional
facility staff, both medical and custody. Unfortunately, while this information is
stored electronically, it is retrievable ONLY at the workstation used to input it as
the system is not networked. When asked regarding the purpose of the value of
using MIMAS when it was not accessible throughout the institution, the
consultants were told that its use saves time as the department receives many
telephone calls requesting the information stored in this system. It is less time

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- consuming and generally more successful to look it up in the system than to try to
find the physical UHR and retrieve the information from the hand-written chrono.
MIMAS was also used at VSWP to track obstetrical patients. Tracking was very
manual and required re-entry of data when the inmate was transferred to a
community medical facility for some portion of their care and then returned to
VSWP.

It is noted that CPR is investigating improving transcription services by
centralizing this function. The change to centralized dictation is non-trivial. It
represents a significant change in terms of the relationship between the providers
and the transcriptionists. The face-to-face communication and personal familiarity
that was once the norm will quickly become a thing of the past. This has been a
short term dis-satisfier with other organizations that have gone through the same
transition. A strong communication plan coupled with a “help desk” function will
be critical to the success of the transition.

3. Locater Systems

As with other HIM functions, the tools used to assist with chart location are varied
across the six institutions visited. There are three automated locater tools used:
CRIS (Complete Integrated Record System) used at CMF, MEDCATS used at
CSP SAC, VSWP and Wasco, and C-File Tracking (used by the Army Depot
Health Record Center). The other two facilities, Folsom and DVI did not have an
automated tracking system, but relied on manual out-guide systems for record
location. Both CRIS and MEDCATS use bar-coding technology, however it is
unknown if the barcodes are compatible. Chart location could certainly be
simplified by using standard technology along with an integrated state-wide
system. It is also logical to consider standardizing the barcode technology so that
the codes are compatible with the system used by the Central Records
Department to track the C-files, CRAFTS (Case Record Automated File Tracking
System).

4. Loose Sheet Filing

Keeping up with loose sheet filing has traditionally been the bane of HIM
departments throughout the nation. The correctional system is no different in this
regard, except for the lack of technologically advanced tools that eliminate the
need for filing. Although not a primary objective of this engagement, inquiries
were made regarding the volume of loose filing as this impacts delivery of care to
a specific individual. Most of the departments had some sort of backlog, and were
taking steps to reduce the volume. The process at VSWP in particular
demonstrated innovative thinking. At this facility, those dropping off loose sheets
to be filed were asked to place them in the proper terminal digit grouping - CDC#s
ending 00-09 went in one bin, those ending in 10-19 in a second bin, etc. This
initial sorting enables those filing to eliminate one step in their process. Common
issues shared across the facilities include:

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_ @ Volume of incoming loose filing ranged from minimal to 4 feet per day.
Routine volume statistics were unavailable, although some facilities were
attempting to capture this important information.

e Receipt of large volumes of filing from areas that provide this information
monthly.

e Lack of adequate identifier information on the loose sheet to find the correct
inmate.

¢ Receipt of loose filing after the UHR has been transferred to another
location.

« Inability to locate the UHR that should be onsite.

¢ Receipt of reports that belong in the C-file.

The transitory nature of the UHR contributes to the loose filing backlog, especially
at the reception centers where most inmates are transferred to their mainline
facility within 90 days. The backlog problem is clearly demonstrated when one
_looks at the history of the DORM (Discharge Offenders Record Management)
system. This large scale project to image inmates’ records originally included
plans to image the Unit Health Record. While the scanning of UHR related
documents has now been halted, approximately ~6.5M loose sheets were
scanned into the system, dating back to the early 1990s. This effort was
apparently undertaken as a first step in the imaging process and was to match the
huge volume of loose sheets sent to the North and South storage areas with the
appropriate inmates’ records. Unfortunately, the lack of appropriate identifying
information on the documents, including the inmate's key identifiers as well as the
form identifiers resulted in minimal benefit to the delivery of healthcare. While an.
imaging system for the UHR likely would be a viable part of future plans for an
EHR, the implementation would need to include the ability to scan current,
pertinent documents from the UHR so that they are immediately available to
caregivers at a different location.

5. Health Information Management Discussion

As with the scheduling area, many of the issues common to the HIM departments
center on lack of connected data and the tools with which the employees work.

e Lack of integration of the departmental computer applications causes the
need for many more manual processes to be used.

e Inability to access the core systems DDPS and OBIS due to limited
workstation with these programs installed.

¢ Small number of professionally credentialed staff means that best practices
of the profession are not in common use.

e References for ICD-9 coding range in date from 1999 through 2005
editions.

e Data collection via CADDIS that has little benefit to the organization while
important epidemiological issues such as chronic disease tracking are
ignored.

e Severe lack of space in some institutions for HiM functions.

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« The practice of keeping the UHR separate from designate outpatient and
inpatient treatment area records is questionable from a continuity of care
perspective.

The current record retention practice of keeping hardcopy UHR volumes stored
onsite at the location of the inmate puts significant demand on already crowded
office space. This contributes to less than optimal working conditions and, no
doubt, contributes to high staff turnover. For example, at VSPW the active UHR’s
are kept in the filing area in a designated filing space. The older volumes for
current inmates are kept at the other end of the department in what was once
office space. Similar practices were observed a several facilities. The scanning
and subsequent destruction of inactive volumes could free up significant space.
There would be immediate benefits including improved working conditions for staff
and reduced demands for capital construction.

D. Laboratory Services

Not all facilities have onsite laboratory information systems as some of the
mainline prisons send all lab samples out for testing. Two different LIS were
observed, CSS Win at CMF and Schuylab at both Wasco and VSPW. In addition,
two different outsourcing companies were used for tests not performed on
campus. Quest is generally the outsource company used by the Northern based
correctional facilities while Foundation Lab is used for the Southern based
facilities. Both outsourcing companies provide online access to test results. At
CMF there is an unresolved security issue with interfacing the CSS Win system
with Quest. Therefore results of tests sent out to Quest are manually input into
the CSS Win system, a labor intensive practice and one that increases
opportunities for identification and/or resulting errors during input.

Both CSS Win and Schuylab appear to be Laboratory Information Systems
designed for small facility use. The CSS Win lacks the ability to fink CDC#s within
the system, so it is not possible to link an inmate’s lab results across different
incarcerations. It is unknown if Schuylab has this ability, but this functionality is
likely not supported.

Identification of the specimens appears to follow routine lab protocols, using the
inmates CDC#, name, age, gender, date & time of collection and ordering
physician.

At Folsom, the lab technician interviewed indicated that she uses IMSATS to track
that an ordered test is completed. This is logical since there is a need to ensure
that health care is delivered as ordered and within time guidelines. As minimal
time was spent interviewing lab personnel and without the opportunity to even visit
all labs at the six facilities visited, it is unknown if this is a routine practice across
all institutions.

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E. Radiology Services

The radiology departments visited had Siemens equipment, with a couple with
Fuji digital systems either recently installed or in the process of being
implemented. The digital systems are not a PACs system, but can be converted
_at a later time. In the Fuji system, reports can be recalled by searching with either
the inmate’s CDC# or their last name. The returned records are then scanned to
find the correct entry. Onsite services are mainly limited to diagnostic exams with
more complex exams or those requiring special equipment either provided by
community clinicians coming onsite or by sending the inmate into the community
for treatment.

Radiology images are stored in hard copy film that is identified via the CDC#.
Radiology uses color coded jackets and files in Terminal Digit order. Two of the
departments visited used internally developed MS Access as a tracking database.
This is used both to determine if the radiology department is meeting judicial
guidelines for timeliness of the exams as well as to track the location of the
radiology films. Lack of access to OBIS and/or DDPS was an issue. At Folsom
the radiology department was minimally staffed. As a result there were large
numbers of films stacked at random around the small radiology area. These films
had not been filed as they needed to be researched in OBIS to determine if the
inmate was still at this facility.

F. Pharmacy Services

Pharmacy Services are in the process of being converted from the PPTS system
(acronym meaning unknown) to Guardian. Guardian is the pharmacy system
used by Maxor, the outsourcing pharmacy company chosen by CPR to assume
‘management of the pharmacies across the correctional system. Guardian is a
term server application with data maintenance centralized in Amarillo, TX. The
system is a real-time application with immediate availability to all users. Data is
routinely backed up and there is secondary database, replicated in real-time.
Connection to the server in Amarillo is accomplished via a VPN connection.
Patient identifiers stored in this.system include the CDC#, the inmate’s full name,
DOB, gender, location within the prison facility, allergies, medication history and
other pertinent medical information. Patient searches in this system can be
accomplished via the CDC#, the patient name or the prescription number.

JA was able to see the PPTS system in use at VSPW. The system is updated via
a DDPS download each day. PPTS workstations are locally connected within the
pharmacy department. There are also additional workstations available in several
areas of the facility, with updates accomplished via diskette each day to provide
current PPTS medication information for inmates for viewers in these non-
pharmacy locations.

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G. Central or Case Records

This department falls under the custody side of the CDCR. The legal case files,
C-files are managed by the members of this department. Information from the
AOJ is entered into OBIS along with the future discharge date for this inmate.
The AOJ paperwork contains the CIl# as well as frequently mentioning prior
CDC#s and other key identifiers used by the inmate including names, dates of
birth, and Social Security Numbers. !t is during the entry of a new inmate into
OBIS that the manual cross-referencing of prior or other active CDC# is
completed. Records are filed in terminal digit order using the last two digits of the
CDC# as the primary division. A color-coded system was not consistently used. -
One of the departments visited used CRAFTS (Case Record Automated File
Tracking System) which looks much like the MEDCATS system used by some
HIM departments. CRAFTS produced a bar-coded label to assist in chart
tracking.

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Appendix 4: Reception Center Flow Charts

Yellow shaded boxes indicate steps where CDC # is manually recorded,

BS.

K just Associates

"MASTERING PATIENT IDENTITY
: ce wena a

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Yellow shaded boxes indicate steps where cDpc # is manually recorded.

ie

WASCO RECEPTION CENTER

Paperwork goas to
_Genval Record:

: SK Just Associates

MASTE NG PATFENT (OENTITY

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Yellow shaded boxes indicate steps where CDC # is manually recorded.

R& R Process ae
‘ALLEY STATE PRISON

~ Se lust Associates

‘MASTERING PATIENT IDENTITY
oes HE

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Appendix 5: Facility Specific Database Table

The following table documents the volume and variety of databases encountered
- during the consulting engagement. It does not encompass all databases used by
these facilities.

a

California Medical Facility

CADDIS

Used to code inpatient &
certain outpatient stays within
the facility as well as inpatient
stays at community facilities.

CRIS Chart tracking used to track
UHR
CSS-WIN Lab Information System
DDPS Bed tracking and inmate
location
IMSATS Scheduling system for medical
appointments.
OBIS Captures inmate history and

movement from location to
location and calculates
discharge dates.

6-7 Individual, Unlinked MS
Access Databases

Used to track chronic
diseases, such as Diabetes
Mellitus, Tuberculosis, HIV

Deuel Vocation Institution

Fuji Digital Radiology

Stores digital images of

radi

DDPS
IMSATS
LANCE Used to track incoming
inmates from each county and
indicates special housing
needs
MCAS Imaging system used to scan
chronos.
OBIS
TMR Generates for 7252 for

temporary release of inmate to
leave facility for outside
medical care.

CDC Utilization Management
5

Used by Utilization Review
nurse to qualify medical
necessity.

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California Prison-
Sacramento

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ARTS Used to track data mandated
by tawsuits, audits and
generates workloads

CADDIS
DDPS
HCCUP Health Care Cost Utilization
Program system used in
outside provider payments.
IMSATS

LSTS System used to track hearings
for inmates with life terms

MIMAS Access database used to track
chronos

MEDCATS Chart tracking system used to
track UHR.

OBIS

PPTS Pharmacy system

Folsom

CADDIS

Computerize Radiography

Fuji radiology system that
displays digital images and
prints out films.

DDPS

IMSATS

MS Access DB

Used by R&R for property
tracking and bus schedules.

OBIS

Quest

Outside lab system with online
connection to prison.

Wasco

CADDIS
CRAFTS Chart tracking used for C-file
tracking.
DDPS

Foundation Lab

Lab information system
available from outside lab
vendor.

HCCUP
IMSATS
MCAS
MEDCATS Chart tracking used for UHR
tracking
OBIS
PPTS Pharmacy system being

replaced in all institutions with
Guardian.

Reception Center Movement
Tool

MS Access database used to
print labels

Schuylab

Lab information system

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as:

Radiology MS Access

Valley State Prison for
Women

unctio :
Tracks film location, dates of
ices.

Cor-Med Used to produce ducats for
inmate healthcare
appointments.
DDPS
DEC Disability & Effective

Communication System used
to ID inmates with physical
limitations.

Form Gen 2000

MS Access database that
generates UHR forms.

Foundation Lab

Fuji Digital Radiology

IMSATS
MHTS Mental Health Tracking
System used for mental health
documentation, scheduling
and tracking.
MEDCATS
MIMAS

OB Tracking System

MS Access DB used fo track
pregnant inmates. :

PPTS

Radiclogy MS Access DB

Used for radiology scheduling
and tracking.

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Appendix 6:. Sample Scheduling System Data Field
Requirements

TbIS Is hotiintended te bea complete list of required; data fields and is only
provided as an example to illustrate the special needs the California prison
healthcare system has.

Name of inmate Oo Off-the-Shelf

1.
2. All active and historical CDC# for inmate Custom
3._ Date of birth of inmate Off-the-Shelf
4. Nature of complaint. Off-the-Shelf
5. Chronic Diagnoses Custom
6. Previous Visit Dates Custom
7. Prior complaints Custom
8. Physician or nurse to be seen Off-the-Shelf
9. Date of request Off-the-Shelf
10. Existence of already scheduled appointments Off-the-Shelf
for mental, dental or healthcare services.
a. Date of appointment Off-the-Shelf
b. Time of appointment Off-the-Shelf
c. Location of appointment Off-the-Shelf
11.Date of appointment Off-the-Shelf
12. Starting Time of appointment Off-the-Shelf
13.Ending Time of appointment Off-the-Shelf
14. Types of Tests/treatment ordered Off-the-Shelf
15. Date test/treatment ordered. Off-the-Shelf
16. Ordering physician Off-the-Shelf
17. Tests/treatment received & date received. Off-the-Shelf
18. Housing location of inmate Custom
19. Security level Custom
20. Security needs for inmate (gang membership Custom
conflicting with other inmates also scheduled)
21.Production of ducat Custom
22.Communication of appt time & location with Custom
custody staff
23. Physical Disabilities impacting care delivery Custom
24.Connect appt to other appointments for similar Custom
complaint to show treatment history
25. Offsite medical appointments:
a. Name of offsite provider Off-the-Shelf
b. Location of physician office Off-the-Shelf
c. Date of appointment Off-the-Shelf

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_d. Start & Stop Time for Appointm Off-the-She
e. Reason for Visit Off-the-Shelf
f. Utilization Management approval for Off-the-Shelf
appointment
g. Custody staff schedule to Custom
accompanying inmate
h. Approval from Custody for transport Custom
i. Vehicle assigned to transport inmate Custom
j. Ordering physician Off-the-Shelf
k. Date ordered Off-the-Shelf
|. Indication that inmate completed Custom
appointment
26. Routine, urgent or follow-up appointment Off-the-Shelf
27. Refusal of treatment by inmate Custom
28. Healthcare professional witness to refusal of Custom
treatment by inmate
29.Request UHR from medical records. Off-the-Shelf
30. Disposition of patient Off-the-Shelf

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Appendix 7: ISO 27002 Base Standards to Audit

Security Policy — The key objective of IT security policy is to provide
management direction and support for information security. The written IT security
policy should set a clear policy direction and demonstrate management's
commitment to information security. It also should have an owner who is
responsible for updating and reviewtng the policy, and it should be communicated
throughout the organization.

Organization of Information Security — Organizational IT security encompasses
the business infrastructure that should be in place to successfully manage
information security within the organization. Such infrastructure includes
coordination, communications, and cooperation of entities both inside and outside
the organization. Internally, specialist information security advice should be
consulted when necessary, and independent reviews of security controls should
be performed. Security of third-party access and outsourcing should be enforced
through both technical and legal controls.

IT Asset Management — An organization’s IT assets include information assets,
software, hardware, other physical assets, and even outside services. In order to
adequately protect these assets, the organization should have some system for
inventory and classification of its assets; all assets should be accounted for and
have a nominated owner. Such a system should enable staff to classify
organizational assets and determine the proper labeling and handling methods.
Handling methods are guidelines on the copying, storage, transmission, and
destruction of assets.

Technology Human Resources Security — To reduce the risks of human error,
data theft, or other abuse of information systems, an organization should outline
requirements involving employee skills screening, information security clauses in
employment agreements, user training, and IT incident reporting. Some of the
requirements are technical security controls, while others are human controls.
Regardless, all of the controls are focused on protecting the organization from
mistakes and intentional malicious behavior.

IT Physical and Environmental Security — No information system can be |
considered secure unless it is located in a secure environment. Specifically, an
organization’s servers should be hosted in a physically secure facility. A physical
security perimeter should exist, entry controls should produce auditable logs,

. equipment should be secure during delivery and receipt, cabling should be
physically secure, and equipment should be tracked as it enters and leaves the
organization. In addition, the environment should be protected against common
disasters, including power outage, HVAC failure, fire, flood, etc. Finally, sufficient

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maintenance practices should be in place to ensure physical security controls
remain operational over time.

Communications and Operations Management — !T Operational procedures
should be established for the management of all information processing facilities,
such as servers and network devices. Best-practice recommendations include
documenting IT operating procedures, utilizing an operational change control
system, assigning detailed IT responsibilities to individual staff members, and
applying segregation of duties where appropriate.

Procedures that should be in place are logging and fault management, network
management, media handling, security of information exchange (commerce, mail,
office systems, etc.), backups, housekeeping, handling of malicious software
(viruses), and system planning and acceptance.

IT Access Control — Access control is the amalgamation of policy and rules in
place to prevent unauthorized access to information systems. Reaching far
beyond just technical controls, access controls should cover all stages of the user
access life-cycle, from initial registration to the time when access is permanently
removed. Operational access control includes identifying and verifying authorized
users, recording system access, and restricting connections to specific clients,
times, etc. Some recommended controls include privilege management, user
password management, review of access rights and privilege, network access
control and segregation, and application logging and monitoring. Access control
should extend to mobile devices, remote workers, and trusted third parties.

Information Systems Acquisition, Development, and Maintenance —
Operating systems, business applications, off-the-shelf products, and user-
developed applications are examples of information systems. The design and
implementation of information systems that support business processes can be
crucial for security. Security requirements should be identified and agreed prior to
the development and/or implementation of information systems, such as ensuring
that access controls, auditing, and logging are built into applications, that input
and programmatic results are validated, and that cryptographic controls,
encryption and key management are implemented where appropriate.

Information Security incident Management — Effective information security
incident management ensures that information security events and information
system vulnerabilities are communicated in a manner that facilitates timely
corrective action. Formal event reporting and escalation procedures should be in
place, and all employees, contractors, and third-party users should be apprised of
the procedures for reporting the different types of events and weaknesses that
might impact the security of organizational assets. A process of continual
improvement should be applied to the response to, monitoring of, evaluation of,
and the overall management of information security incidents. When evidence

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collection is required, it should be done in a manner that complies with applicable
legal requirements.

Business Continuity Management — Business continuity management involves
dealing with catastrophic interruptions to business processes. A business
continuity management process should be implemented to minimize the impact of
such an event on an organization and to recover from the loss of information
assets to an acceptable level through both preventive and recovery controls. This
process should identify the critical business processes and integrate the
information security management requirements of business continuity with other
continuity requirements, such as those pertaining to operations, staffing, and
facilities.

Compliance — A critical part of protecting an organization is to avoid any potential
breaches of any criminal or civil law, or of any statutory, regulatory, or contractual
obligation. Compliance issues include various copyright protections, employee
privacy laws (such as HIPAA), customer non-disclosure and privacy
commitments, and upstream provider requirements.

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